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                                IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF TEXAS
                                         MARSHALL DIVISION

     LUMINATI NETWORKS LTD.                                  §
                                                             §
              v.                                             §           Case No. 2:19-CV-0395-JRG
                                                             §
     TESO LT, UAB, ET AL.                                    §

                           SECOND AMENDED DOCKET CONTROL ORDER

               It is hereby ORDERED that the following schedule of deadlines is in effect until further

order of this Court:

     Date Provided by                  Amended Date                                      Event
      the Court
    July 12, 2021                  August 16, 2021                *Jury Selection – 9:00 a.m. in
                                                                  Marshall, Texas

    May 31, 2021                   June 1, 2021                   * If a juror questionnaire is to be used, an
                                                                  editable (in Microsoft Word format)
                                                                  questionnaire shall be jointly submitted to
                                                                  the Deputy Clerk in Charge by this date.1
    June 16, 2021                  August 12, 2021                *Pretrial Conference – 9:00 a.m. in
                                                                  Marshall, Texas before Judge Rodney
                                                                  Gilstrap

    April 12, 2021                                                *Notify Court of Agreements Reached During
                                                                  Meet and Confer

                                                                  The parties are ordered to meet and confer
                                                                  on any outstanding objections or motions in
                                                                  limine. The parties shall advise the Court of
                                                                  any agreements reached no later than 1:00
                                                                  p.m. three (3) business days before the
                                                                  pretrial conference.
    April 12, 2021                                                *File Joint Pretrial Order, Joint Proposed
                                                                  Jury Instructions, Joint Proposed Verdict
                                                                  Form, Updated Exhibit Lists, Updated
                                                                  Witness Lists, and Updated Deposition
                                                                  Designations


1
    The Parties are referred to the Court’s Standing Order Regarding Use of Juror Questionnaires in Advance of Voir Dire.
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 Date Provided by                  Amended Date                                        Event
  the Court
March 26, 2021                                                 *File Responses to Motions in Limine

March 15, 2021                                                 *File Notice of Request for Daily
                                                               Transcript or Real Time Reporting.

                                                               If a daily transcript or real time reporting
                                                               of court proceedings is requested for trial,
                                                               the party or parties making said request
                                                               shall file a notice with the Court and e-
                                                               mail the Court Reporter, Shelly Holmes, at
                                                               shelly_holmes@txed.uscourts.gov.
March 8, 2021                                                  File Motions in Limine

                                                               The parties shall limit their motions in
                                                               limine to issues that if improperly
                                                               introduced at trial would be so prejudicial
                                                               that the Court could not alleviate the
                                                               prejudice by giving appropriate
                                                               instructions to the jury.
March 8, 2021                                                  Serve Objections to Rebuttal Pretrial
                                                               Disclosures

March 1, 2021                                                  Serve Objections to Pretrial Disclosures; and
                                                               Serve Rebuttal Pretrial Disclosures
February 16, 2021                                              Serve Pretrial Disclosures (Witness List,
                                                               Deposition Designations, and Exhibit
                                                               List) by the Party with the Burden of
                                                               Proof
February 8, 2021                                               *Response to Dispositive Motions
                                                               (including Daubert Motions).
                                                               Responses to dispositive motions that were
                                                               filed prior to the dispositive motion deadline,
                                                               including Daubert Motions, shall be due in
                                                               accordance with Local Rule CV-7(e), not to
                                                               exceed the deadline as set forth in this Docket
                                                               Control Order.2
                                                               Motions for Summary Judgment shall
                                                               comply with Local Rule CV-56.


2
  The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s failure to oppose a motion in
the manner prescribed herein creates a presumption that the party does not controvert the facts set out by movant and
has no evidence to offer in opposition to the motion.” If the deadline under Local Rule CV 7(e) exceeds the deadline
for Response to Dispositive Motions, the deadline for Response to Dispositive Motions controls.

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 Date Provided by      Amended Date                            Event
  the Court
January 25, 2021                            *File Motions to Strike Expert Testimony
                                            (including Daubert Motions)

                                            No motion to strike expert testimony
                                            (including a Daubert motion) may be filed
                                            after this date without leave of the Court.
January 25, 2021                            *File Dispositive Motions

                                            No dispositive motion may be filed after
                                            this date without leave of the Court.

                                            Motions shall comply with Local Rule CV-
                                            56 and Local Rule CV-7. Motions to extend
                                            page limits will only be granted in
                                            exceptional circumstances. Exceptional
                                            circumstances require more than agreement
                                            among the parties.
January 21, 2021                            Deadline to Complete Expert Discovery

January 12, 2021                            Serve Disclosures for Rebuttal Expert
                                            Witnesses
December 14, 2020                           Deadline to Complete Fact Discovery and
                                            File Motions to Compel Discovery

December 18, 2020                           Serve Disclosures for Expert Witnesses by
                                            the Party with the Burden of Proof

December 1, 2020                            Comply with P.R. 3-7 (Opinion of
                                            Counsel Defenses)
November 10, 2020                           *Claim Construction Hearing – 9:00 a.m. in
                                            Marshall, Texas before Judge Rodney
                                            Gilstrap

October 27, 2020                            *Comply with P.R. 4-5(d) (Joint Claim
                                            Construction Chart)
October 20, 2020                            *Comply with P.R. 4-5(c) (Reply Claim
                                            Construction Brief)

October 13, 2020                            Comply with P.R. 4-5(b) (Responsive
                                            Claim Construction Brief)




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     Date Provided by       Amended Date                              Event
      the Court
    September 29, 2020                            Comply with P.R. 4-5(a) (Opening Claim
                                                  Construction Brief) and Submit Technical
                                                  Tutorials (if any)

                                                  Good cause must be shown to submit
                                                  technical tutorials after the deadline to
                                                  comply with P.R. 4-5(a).
    September 29, 2020                            Deadline to Substantially Complete
                                                  Document Production and Exchange
                                                  Privilege Logs

                                                  Counsel are expected to make good faith
                                                  efforts to produce all required documents as
                                                  soon as they are available and not wait until
                                                  the substantial completion deadline.
    September 15, 2020                            Comply with P.R. 4-4 (Deadline to
                                                  Complete Claim Construction
                                                  Discovery)

    September 8, 2020                             File Response to Amended Pleadings

    August 25, 2020                               *File Amended Pleadings

                                                  It is not necessary to seek leave of Court to
                                                  amend pleadings prior to this deadline
                                                  unless the amendment seeks to assert
                                                  additional patents.
    August 18, 2020                               Comply with P.R. 4-3 (Joint Claim
                                                  Construction Statement)

    July 28, 2020                                 Comply with P.R. 4-2 (Exchange
                                                  Preliminary Claim Constructions)
    July 7, 2020                                  Comply with P.R. 4-1 (Exchange
                                                  Proposed Claim Terms)

    June 29, 2020                                 Comply with Standing Order Regarding
                                                  Subject-Matter Eligibility Contentions3
    June 29, 2020                                 Comply with P.R. 3-3 & 3-4 (Invalidity
                                                  Contentions)

3
 http://www.txed.uscourts.gov/sites/default/files/judgeFiles/EDTX%20Standing%20Order%20Re%
20Subject%20Matter%20Eligibility%20Contentions%20.pdf

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 Date Provided by             Amended Date                                Event
  the Court
June 8, 2020                                          *File Proposed Protective Order and
                                                      Comply with Paragraphs 1 & 3 of the
                                                      Discovery Order (Initial and Additional
                                                      Disclosures)

                                                      The Proposed Protective Order shall be filed
                                                      as a separate motion with the caption
                                                      indicating whether or not the proposed order
                                                      is opposed in any part.
June 1, 2020                                          *File Proposed Docket Control Order and
                                                      Proposed Discovery Order

                                                      The Proposed Docket Control Order and
                                                      Proposed Discovery Order shall be filed as
                                                      separate motions with the caption indicating
                                                      whether or not the proposed order is
                                                      opposed in any part.
May 26, 2020                                          Join Additional Parties
May 4, 2020                                      Comply with P.R. 3-1 & 3-2
                                                 (Infringement Contentions)
 (*) indicates a deadline that cannot be changed without showing good cause. Good cause is
 not shown merely by indicating that the parties agree that the deadline should be changed.

                               ADDITIONAL REQUIREMENTS

        Mediation: While certain cases may benefit from mediation, such may not be appropriate
for every case. The Court finds that the Parties are best suited to evaluate whether mediation will
benefit the case after the issuance of the Court’s claim construction order. Accordingly, the Court
ORDERS the Parties to file a Joint Notice indicating whether the case should be referred for
mediation within fourteen days of the issuance of the Court’s claim construction order. As a
part of such Joint Notice, the Parties should indicate whether they have a mutually agreeable
mediator for the Court to consider. If the Parties disagree about whether mediation is appropriate,
the Parties should set forth a brief statement of their competing positions in the Joint Notice.

        Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
Motions: For each motion, the moving party shall provide the Court with two (2) hard copies of
the completed briefing (opening motion, response, reply, and if applicable, sur-reply), excluding
exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
must include the CM/ECF header. These copies shall be delivered to the Court within three (3)
business days after briefing has completed. For expert-related motions, complete digital copies of
the relevant expert report(s) and accompanying exhibits shall be submitted on a single flash drive
to the Court. Complete digital copies of the expert report(s) shall be delivered to the Court no later
than the dispositive motion deadline.

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       Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
the local rules’ normal page limits.

       Lead Counsel: The Parties are directed to Local Rule CV-11(a)(1), which provides that
“[o]n the first appearance through counsel, each party shall designate a lead attorney on the
pleadings or otherwise.” Additionally, once designated, a party’s lead attorney may only be
changed by the filing of a Motion to Change Lead Counsel and thereafter obtaining from the Court
an Order granting leave to designate different lead counsel.

        Motions for Continuance: The following excuses will not warrant a continuance nor
justify a failure to comply with the discovery deadline:

(a)    The fact that there are motions for summary judgment or motions to dismiss pending;

(b)    The fact that one or more of the attorneys is set for trial in another court on the same day,
       unless the other setting was made prior to the date of this order or was made as a special
       provision for the parties in the other case;

(c)    The failure to complete discovery prior to trial, unless the parties can demonstrate that it
       was impossible to complete discovery despite their good faith effort to do so.

       Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
include a proposed order that lists all of the remaining dates in one column (as above) and the
proposed changes to each date in an additional adjacent column (if there is no change for a date
the proposed date column should remain blank or indicate that it is unchanged). In other words,
the DCO in the proposed order should be complete such that one can clearly see all the remaining
deadlines and the changes, if any, to those deadlines, rather than needing to also refer to an earlier
version of the DCO.

       Proposed DCO: The Parties’ Proposed DCO should also follow the format described
above under “Amendments to the Docket Control Order (‘DCO’).”

        Joint Pretrial Order: In the contentions of the Parties included in the Joint Pretrial Order,
the Plaintiff shall specify all allegedly infringed claims that will be asserted at trial. The Plaintiff
shall also specify the nature of each theory of infringement, including under which subsections of
35 U.S.C. § 271 it alleges infringement, and whether the Plaintiff alleges divided infringement or
infringement under the doctrine of equivalents. Each Defendant shall indicate the nature of each
theory of invalidity, including invalidity for anticipation, obviousness, subject-matter eligibility,
written description, enablement, or any other basis for invalidity. The Defendant shall also specify
each prior art reference or combination of references upon which the Defendant shall rely at trial,
with respect to each theory of invalidity. The contentions of the Parties may not be amended,
supplemented, or dropped without leave of the Court based upon a showing of good cause.




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   So Ordered this
   Jun 8, 2021




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